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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


ARKANSAS TEACHER RETIREMENT SYSTEM,
on behalf of i t s e l f and a l l others
similarly situated,
      Plaintiff
                                              C.A.   No.   11-10230-MLW
             V.



STATE STREET BANK AND TRUST COMPANY,
      Defendants.


ARNOLD HENRIQUEZ,     MICHAEL T.
COHN,WILLIAM R.     TAYLOR,   RICHARD A.
SUTHERLAND, and those similarly
situated.
      Plaintiff


             V.                               C.A.   No.   11-12049-MLW


STATE STREET BANK AND TRUST COMPANY,
      Defendants.


THE ANDOVER COMPANIES EMPLOYEE
SAVINGS AND PROFIT SHARING PLAN,       on
behalf of itself, and JAMES
PEHOUSHEK-STANGELAND and all others
similarly situated.
      Plaintiff


             V.                               C.A.   No.   12-11698-MLW


STATE STREET BANK AND TRUST COMPANY,
      Defendants.


                          MEMORANDUM AND ORDER



WOLF, D.J.                                                  June 28, 2018
     On June 21, 2018, I issued an Order stating that, "[f]or the

reasons that will be explained in a         forthcoming Memorandum and

Order, Labaton Sucharow, LLP's motion seeking my recusal pursuant
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to 28 U.S.C. §455(a) is hereby DENIED because a reasonable person

could not question my impartiality."           Docket No. 315.     The reasons

for that decision are described in this Memorandum.^

I.   SUMMARY


        I have been presiding in this class action since 2011.               In

2016, I approved a settlement of the case and awarded Lead Counsel

Labaton     Sucharow   LLP   ("Labaton")       and   other   law   firms   that

represented the class $75,000,000 in attorneys' fees. A subsequent

letter from Labaton informed me of what were characterized as

"inadvertent errors" in the fee petition and affidavits Labaton

had filed.     A Boston Globe article raised further questions about

the reliability of the representations that were made in the fee
petition.

        In 2017, with the agreement of Labaton and the other law

firms     representing    the   class,     I    took   the   evidently     then
unprecedented step of appointing a Master to investigate whether
false and misleading statements had been made in the petition for
£003 and related issues. I directed the Master, Retired United




1 I issued the Order in advance of this Memorandum because I wanted
to eliminate any doubt about my authority to conduct the previously
scheduled June 22,       2018 hearing on proposed redactions to the
Master's Report and Recommendation.            This also provided the proper
sequence for deciding whether to make public some information
Labaton had requested remain sealed that is necessary to discuss
in this Memorandum.       In view of the tight time frame for deciding
the underlying questions of redaction, I also needed more time to
complete drafting this Memorandum.
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states District Judge Gerald Rosen, to report the results of his

investigation and to make recommendations concerning whether the

fee   award   should   be   reduced   and   whether   sanctions   should be

imposed on any of the attorneys.

      In   May   2018,      the   Master    submitted    his   Report    and

Recommendation (the "Report") under seal to permit the law firms

to propose redactions.2       The Master has recommended, among other

things, that Labaton and some of the firms associated with it be
ordered to disgorge more than $10,000,000.            The Master also found

that Garrett Bradley of the Thornton Law Firm ("Thornton"), and

of Counsel to Labaton, included statements that he knew were false

in his affidavit in support of the fee petition.                  The Master

recommends that I find Garrett Bradley violated Federal Rule of

Civil Procedure 11, impose a sanction on Thornton of $400,000 to

$1,000,000, and refer Garrett Bradley to the Massachusetts Board
of Bar Overseers for disciplinary action.

      The law firms have an opportunity to object to the Master's

findings and recommendations.          The presiding judge must decide
any objections ^ novo. As Labaton wrote in requesting my recusal,
the decisions on objections could have "serious and far reaching
adverse ramifications for at least some of the law firms."            Docket

No.   216-1 a t 2.




2 On June 28, 2018, the Report was ordered unsealed, with limited
redactions not referenced in this Memorandum. See Docket No. 357.
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       Labaton    has   filed    a   motion     asserting      that    the   Master's

appointment should be deemed concluded.                  That motion is not yet

fully briefed and remains to be decided.                However, if it is granted

the Master would not have the opportunity to respond to objections

to his recommendations.

       Labaton has also moved for my disqualification pursuant to

28   U.S.C.     §455(a).     Labaton's        motion     relies    primarily    on   a

colloquy at sidebar during a May 30, 2018 hearing that included

questioning of George Hopkins, the Executive Director of class
representative Arkansas Teacher Retirement System ("ATRS").

       In a class action, the presiding judge has a duty to assure

that the class is represented by an entity or individual whose

interests are typical of those of the members of the class and

who will vigorously advocate the interests of the class through
qualified counsel.          This means, among other things, that the
presiding judge should examine the adequacy of representation at
all stages of the litigation, particularly if there has been a
material change in circumstances.                My questioning of Hopkins in
open    court    was    intended       to    obtain     information     relevant     to
determining       whether       ATRS        continues     to      be   an    adequate

representative of the class.

       My questions to Hopkins were based, in meaningful measure,
on a concern that ATRS' long and continuing relationship with

Labaton might keep it from vigorously advocating the interests of
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the class concerning whether Labaton and other firTtis should be

ordered to disgorge more than $7,400,000 for the benefit of the

class,    and whether Labaton should be required to disgorge an

additional $4,100,000 as well.        The Master's Report revealed that

$4,100,000 of the $75, 000,000 fee award had been paid to Damon

Chargois, a lawyer in Texas who had done no work on the case, and

whose name was not disclosed to ATRS,          the class,      or the court.

That payment reportedly resulted from the efforts of Chargois and

his partner in Arkansas, Tim Herron,          in introducing Labaton to

ATRS.      Chargois described that role in a message to Labaton,

stating:

             We got you ATRS as a client after considerable
             favors, political activity, money spent and
             time dedicated in Arkansas, and Labaton would
             use ATRS to seek lead counsel appointments in
             institutional        investor       fraud         and
             misrepresentation     cases.    Where   Labaton    is
             successful in getting appointed lead counsel
             and obtains a    settlement or judgment award,
             we split Labaton's attorney fee award 80/20
             period.


Report (Docket No. 224) at 125 n.lll.

        Hopkins stated to the Master that he did not believe that

the fee to Chargois should have been disclosed to ATRS or the
class. This prompted the Master to write that, "[w]e cannot see

how, in light of a clear dereliction of his fiduciary duties to
the class, Hopkins can fairly and adequately represent the class

moving forward." Id. at 258, n.207.
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     While the merits of the Master's views remain to be decided,

on May 30, 2018 I anticipated that the conduct of Hopkins on
behalf of ATRS would become an issue in these proceedings,             and

that ATRS' interests might be aligned with Labaton's interests,

which now conflict with the financial interests of the class.           In

addition,   the Boston Globe had investigated and reported on

campaign contributions to a Massachusetts county treasurer and
the state treasurer by Labaton and Thornton before receiving

lucrative contracts to represent funds chaired by those officials

in class actions. It also reported that federal prosecutors were

investigating Thornton's political campaign contributions. The
Master in seeking instruction had told me that federal prosecutors

were investigating whether Thornton had made an illegal payment
to a pension fund official and asked him to provide information
obtained in his investigation.^ The Boston Globe article and the

criminal investigation caused me to expect that there would be
questions by the media at least about the origins of Labaton's
relationship with ATRS when the Master's Report was unsealed.
Each of these matters is relevant to whether ATRS remains a typical

and adequate class representative.

     In response to my questions on May 30,              2018, Hopkins
testified that he did not believe that ATRS should take a position


3 I instructed the Master not to provide information to the
prosecutors voluntarily.
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on whether Labaton and other lawyers should be ordered to return

some of the fees awarded to the class. He also said ATRS was not,

as class representative, receiving legal advice from anyone other

than Labaton.


     Without being asked, Hopkins also stated that, when he became

Executive Director of ATRS,      Labaton was    one of     several   firms

retained to monitor ATRS* investments and possibly represent ATRS

in class actions,    and that    "political    leaders"    had persuaded

Hopkins to give high priority to such cases.              In response to

questions about this, Hopkins said that he had over the years

discussed class   actions,   Labaton,   and   this   case with Stephen

Paris.   According to Master's Report, Paris, as an Arkansas State

Senator, had introduced Labaton to ATRS.        Hopkins also testified

that he had met with Paris on May 28, 2018 -- Memorial Day -- and

discussed the May 30, 2018 hearing with him.

     After questioning Hopkins, I summarized my concerns about
whether ATRS remained a typical and adequate class representative.

I noted that the Master's Report raised questions, which were only

questions, about the origins of Labaton's relationship with ATRS,
and expressed concern that such an issue might diminish ATRS'
incentive to represent the class vigorously.              I concluded by
saying that my paramount responsibility is to assure that the
class is represented by a lead plaintiff whose role is not
complicated by unique issues and potential conflicts of interest.
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I provided Hopkins a week to report on whether ATRS wished to

continue as a class representative and, if so, whether it intended

to continue to get advice from Labaton or to obtain new counsel.

       Counsel    for   Labaton then requested a        sidebar conference,

which was not public.          I explained the reasons for my questions

to Hopkins about Chargois and Paris.            I said that while they may

not be questions to be resolved in this case, I believed it was

foreseeable that when the Report became public,              there would be

questions about the origins of the relationship between Labaton

and ATRS, and whether "all of those millions of dollars stopped

with Mr. Chargois."          May 30, 2018 Tr. at 2.     I expressed concern

that    such     questions     could   affect   ATRS'   adequacy    as     class
representative.         In response to questions from Labaton's counsel,
I stated that I had not formed the opinion that money was going

to Paris or anyone else, or that public corruption had occurred.
I reiterated that I was concerned that when the Report was made

public ATRS would become part of the controversy, and that caused
me to question whether ATRS remained an appropriate representative
of the class.       I said: " [R] emember what this is about.             Who is

representing the class?"          Id. at 8.

       Labaton has moved for my disqualification based primarily on

the colloquy at sidebar. Labaton does             not   contend    that    I   am
actually biased or prejudiced, or claim that I actually have
personal -- meaning extrajudicial -- knowledge of any disputed
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evidentiary fact.     Therefore, it does not seek my disqualification

pursuant to 28 U.S.C. §455(b)(1).

      Instead,   Labaton suggests that a        reasonable person could

believe   I   am biased or prejudiced,         or   that   I   have personal

knowledge of disputed facts.      Therefore, Labaton seeks my recusal
pursuant to 28 U.S.C. §455(a), which requires disqualification if
the judge's impartiality might reasonably be questioned.

      As the First Circuit has written, §455(a)            "seeks to balance

two competing policy considerations: first, that courts must not

only be, but seem to be, free of bias or prejudice; and second,
the fear that recusal on demand would provide litigants with a

veto against unwanted judges."         In re: Boston's Children First,
244   F.3d    164,   167   (1st Cir.   2001)    (internal      citations   and
quotations omitted).

      A motion for disqualification under §455(a) must be decided
from the perspective of a fully informed,              reasonable person.
"[U]nder §455(a), a judge should be disqualified only if it
appears that he or she harbors an aversion,                     hostility or
disposition of a kind that a fair-minded person could not set
aside when judging the dispute."          Liteky v. United States, 510
U.S. 540, 558 (1994) (Kennedy, J., concurring in judgment); United
States V. Snyder, 235 F.3d 42, 48 (1st Cir. 2000) (quoting Liteky) ;
In re United States, 158 F.3d 26, 34 (1st Cir. 1998) (same).
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     Almost always, an extrajudicial source is required to justify

recusal under §455 (a) .    See Liteky,    510 U.S.    at 551. An extra-

judicial source typically involves ex parte communications in
which "a judge receives      information that does not enter the

record, the reliability of [which] may not be tested through the

adversary process."     United States v. Craven, 239 F.3d 91, 103

(1st Cir. 2001).   As I explained would occur at the March 7, 2017

hearing at which the Master was appointed, I had periodic ^        parte

communications with the Master to discharge my administrative

duties, under Federal Rule of Civil Procedure 53(a)(3), to protect

against unreasonable expense and delay in these proceedings.              In
that process I was told about the existence of the $4,100,000
payment to a lawyer who did not work on this case.                      This
infoirmation was provided to me so I could determine whether to

authorize the Master to retain an advisor on the ethical issues

that payment raised and decide whether to grant extensions of the
deadline for submission of the Master's Report.         I did not discuss

with the Master the substance or merits of the ethical issues,

which are addressed at length in his 377-page Report,             or the

substance or merits of any other issues.

     As   indicated earlier,     the     Master also   informed me that

federal prosecutors in Massachusetts had asked him for information
in connection with their investigation of Thornton. He did so to

seek instruction on how to respond to the request.            I directed

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the Master to tell the prosecutors that he was not authorized to

provide them documents or infomation; rather, if they wanted to

pursue the matter, they would have to file a motion to be decided

by me or issue a grand jury subpoena.              The prosecutors have done

neither.


        For the reasons described in detail              in this Memorandum,        a

fully     informed,    reasonable        person    could        not   question     my

impartiality.         Therefore,    my    recusal       under     §455(a)   is   not

justified.    Accordingly, I have a duty to continue to preside in
this case,        in part to avoid encouraging the perception that

litigants can manipulate the system to jettison an impartial judge
in the hope of getting another more to their liking.                     See In re;

Allied Signal, 891 F.2d 967, 970               (1st Cir. 1989)        (Breyer, J.).

Therefore, on June 21, 2018 I issued an order denying Labaton's

motion for my recusal.

II.     THE MOTION AND THE APPLICABLE STANDARDS

        Labaton    filed   a   motion    asking    me    to     decide   whether   my

disqualification is mandated by §455(a), which requires recusal if
in this case my "impartiality might reasonably be questioned.'"^
Labaton did not contend that I am actually biased or prejudiced.


* No other law firm joined Labaton's motion seeking my recusal.
Labaton did not request discovery concerning its motion. Nor did
Labaton request a hearing on it as required by Rule 7.1(d) of the
Local Rules of the United States District Court for the District
of Massachusetts if a party "wishes to be heard." I found, in any
event, that a hearing on the motion was not necessary.
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or that        I    have personal,      meaning extrajudicial,      knowledge of

disputed evidentiary facts, any of which would require my recusal

under 28 U.S.C. 455(b)(1).              Nevertheless, Labaton suggested that

I     decide        whether   a   reasonable      person    might   question     my

impartiality. See In re Bulger, 710 F.3d 42, 46 (1st Cir. 2013)

(in    some        circumstances,    "a     reasonable     person   may   question

impartiality without the presence of any evidence the judge is

subjectively biased").

       Labaton stated that its motion was primarily based on the

colloquy at sidebar following my questioning George Hopkins, the

Executive Director of ATRS.               See Docket Nos.    275 at 2,    276 at 2.

It wrote that the motion "secondarily relate[d]" to whether the

court's impartiality could reasonably be questioned concerning
challenges Labaton intended to make to the cost and the performance

of the Master.          Docket No. 275 at 2; see also Docket No. 276 at 1.

On June 19, 2018, Labaton has filed a motion seeking, among other

things, a ruling that the Master's role in this case has ended.
See Docket No.         302.


        It is the duty of the presiding judge, rather than another

judge,     to        decide   whether     his    disqualification    is    required
by §455(a). See In re Martinez-Catala, 129 F.3d 213, 220 (1st Cir.
1997). As the First Circuit has explained:

                   It might seem odd that recusal issues should
                   be decided by the very judge whose recusal is
                   in   question.    But    there   are    other

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           considerations at work,                    including desire for
           expedition and a concern to discourage judge
           shopping.


Id.


      In 1989,       then-Judge Stephen Breyer wrote with regard to a

motion to disqualify under §455(a) that:

           We draw our legal standards for review of a
           district judge's decision not to disqualify
           himself from [] In re United States, 666 F.2d
           [690] . We there held (1) that "a charge of
           partiality must be supported by a factual
              basis,"        (2)        that     "disqualification           is
              appropriate only if the facts provide what an
              objective, knowledgeable member of the public
              would     find       to    be a     reasonable         basis for
              doubting the judge's impartiality," and (3)
              that    this     court of         appeals      will    allow the
              district judge "a range of discretion" in
              making     these     determinations. Id. at
              695 (emphasis in original). Only if the
              district court's decision to sit "cannot be
              defended as a rational conclusion supported
              by reasonable reading of the record" will we
              insist upon disqualification. Id. (emphasis
              added).

In re Allied-Signal, 891 F.2d 967, 970 (1st Cir. 1989)                              (emphasis in
original) .

      The standard for determining a motion for disqualification

under §455(a) is "[wjhether the charge of lack of impartiality is
grounded on facts that would create a reasonable doubt concerning
the judge's impartiality, not in the mind of the judge himself or
even necessarily in the mind of the litigant filing the motion
under 28 U.S.C. §455, but rather in the mind of the reasonable

man." United         States        v.   Voccola,        99    F.3d    37,   42    (1st   Cir.
                                                 13
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1996) (quoting United States v. Cowden; 545 F.2d 257,               265    (1st

Cir.    1976)).   Therefore,    the   disqualification    issues    must    be

analyzed from the perspective of           "an objective,    knowledgeable

member of the public," rather than from the perspective of a person

involved in, or directly affected by, the case. El Fenix de Puerto

Rico V. M/Y JOHANNY, 36 F.3d 136, 141 (1st Cir. 1994)             (quoting In

re United States,     666 F.2d at 695)).

       This test asks "whether a reasonable person, fully informed

of all the facts,     would doubt     [the judge's]   impartiality." In re

United States,     158 F.3d at 31 (emphasis added); see also United

States V. Vazcfuez-Botet, 532 F.3d 37, 48 (1st Cir. 2008); El Fenix

de Puerto Rico,      36   F.3d at 141; Home    Placement Serv.,      Inc.    v.

Providence Journal Co. ,       739 F.2d 671,   676    (1st Cir.   1984) . The

proper perspective has been described as that of "the reasonable
man on the street ... who knows the full facts even if those facts

are not known on the street."         Ricci v. Key Bancshares of Maine,

Inc., 111 F.R.D. 369, 374 (D. Me. 1986) (Aldrich, J., sitting by

designation).

       The conduct that has prompted the motion for recusal is not

to be considered in isolation. Rather, the record as a whole must

be considered. See In re Cargill, Inc.,          66 F.3d 1256, 1260 (1st

Cir. 1995) (reviewing recusal in light of "careful perscrutation

of the record"); In re Allied-Signal, 891 F.2d at 972 (considering

that law clerks whose brothers were plaintiffs' counsel had worked

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on the complex case since it began and were unusually useful "in

bringing Phase One [of the case] to trial"); cf. United States v.

Ayala-Vazquez, 751 F.3d 1, 23 (1st Cir. 2014)                 (" [W] hen a defendant

claims he has been prejudiced through a trial judge's interventions

at trial,      '[c]harges of partiality should be judged not on an

isolated     comment     or   two,   but    on   the   record    as    a     whole [.]'")

(quoting United States v.            Polito,     856 F.2d 414,         418     (1st Cir.

1998))).

        In deciding a motion to recuse under §455(a), "the district

court is not to use the standard of 'Caesar's wife,' the standard

of mere suspicion." In re Allied-Signal,                  891 F.2d at 970; see

also In re Bulger, 710 F.3d at 47 (same); Cigna Fire Underwriters

Co. V.     MacDonald & Johnson,        Inc.,     86 F.3d 1260,         1271    (1st Cir.

1996)     (same). Rather, as Justice Anthony Kennedy has written, and

the First Circuit has reiterated:

              [Section] 455(a) is triggered by an attitude
              or   state   of   mind   so   resistant    to     fair    and
              dispassionate inquiry as to cause a party,
              the public, or a reviewing court to have
              reasonable grounds to question the neutral
              and objective character of a judge's rulings
              or findings. I think all would agree that a
              high threshold is required to satisfy this
              standard. Thus, under §455(a), a judge should
              be disqualified only if it appears that he or
              she   harbors  an   aversion,  hostility   or
              disposition of a kind that a fair-minded
              person could not set aside when judging the
              dispute.




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Liteky,    510 U.S.        at 557-58,   (Kennedy,   J.,   concurring in the

judgment)      (emphasis       added); see   also Snyder,     235   F.3d   at

48 (quoting Liteky, 510 U.S. at 557-58); In re United States, 158

F.3d at 34 (same) . In essence,         "the presumption is that a judge

will put personal beliefs aside and rule according to the laws as

enacted, as required by his or her oath." In re Aguinda, 241 F.3d

194, 204 (2d Cir. 2001)However, the First Circuit has explained

that "doubts ordinarily should be resolved in favor of recusal." In

re United States, 158 F.3d at 30.

     In Liteky, the Supreme Court wrote that for the purpose of

§455(a) analysis:

             [I] t    may not be too far off the mark as a
            practical    matter,    to    suggest    that
            "extrajudicial source" is the only basis for
            establishing disqualifying bias or prejudice.
            It       is   the only common basis,    but not   the
            exclusive one       ....


510 U.S. at 551 (emphasis in original).         A disqualifying appearance

of bias or prejudice under §455(a) can be based on information the
judge acquires in the litigation, but only if "it is so extreme as
to display clear inability to render fair judgment." Id.
     The         "high         threshold"     required        for     recusal
under §455(a) recognizes certain realities. In re United States,



5 See also First Interstate Bank of Arizona, N.A. v. Murphy, Weir
6 Butler, 210 F.3d 983, 988 (9th Cir. 2000) ("[J]udges are presumed
to be impartial and to discharge their ethical duties faithfully
so as to avoid the appearance of impropriety.").
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158 F.3d at 34     (quoting Liteky, 510 U.S. at 557-58). As the First

Circuit has explained, "[i]n the real world, recusal motions are

sometimes driven more by litigation strategies than by ethical

concerns . . . . [C]ourts cannot afford to spawn a public perception

that    lawyers   and    litigants    will   benefit   by   undertaking   such

machinations." In re Cargill, 66 F.3d at 1262-63. Therefore, again,

as then-Judge Breyer wrote:

             [W]hen     considering    disqualification,      the
             district court is not to use the standard of
             Caesar's   wife,   the   standard   of  mere
             suspicion.     This   is    because   "the
             disqualification decision must reflect not
             only the need to secure public confidence
             through proceedings    that appear to be
             impartial, but also the need to prevent
             parties from too easily obtaining the
             disqualification   of   a   judge,   thereby
             potentially manipulating the system for
             strategic reasons, perhaps to obtain a judge
             more to their liking.

In re Allied-Signal, 891 F.2d at 967; see also In re Bulger, 710

F.3d at 47; In re United States,             441   F.3d 44,    67   (1st Cir.

2006) (same); Cigna Fire Underwriters Co., 86 F.3d at 1270 (same).
This is because §455(a) "seeks to balance two competing concerns:

first, the courts must not only be, but seem to be, free of bias
and prejudice, and second the fear that recusal on demand would
provide litigants with a veto against judges." In re: Boston's
Children First, 244 F.3d at 167 (internal citations and quotations
omitted).




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     In addition, because "litigants have an incentive to judge-

shop, [ ] a judge should not grant a recusal motion simply because
a claim of partiality has been given wide-spread publicity." In re

Aguinda, 241 F.3d at 206; see also In re Drexel Burnham Lambert,

Inc., 861 F.2d 1307, 1309 (2d Cir. 1988). Because it is important

not to allow, or appear to allow:

           litigants or third parties        [the power]    to
           exercise a negative veto over the assignment
           of judges ... [the] inquiry cannot stop with
           the questions [such as] . . . would the judge
           have   avoided   controversy and    the   need   for
           appellate review if he had stepped aside?

In re United States,   666 F.2d at 694-95.

     Moreover, §455 (a)     "should not be used by judges to avoid

sitting on difficult or controversial cases." Snyder, 235 F.3d at
45 (quoting H.R. Rep. No. 1453, 93d Cong., 2d Sess., 1974 U.S.
Code Congr. & Admin. News 6351, 6355) ; see also United States v.
Salemme, 164 F. Supp. 2d 86, 94 (D. Mass. 1998).^




6 Where, as here, the only basis for a motion for disqualification
is §455(a), the parties agree that the judge is actually impartial
and the only issue is one of perception. Therefore, after full
disclosure of the facts by the judge, on the record, the parties
are permitted to waive a §455(a) ground for recusal under 28
U.S.C. §455(e), but not a ground under §455(b), which addresses
actual   impediments to the     judge's ability to preside
impartially. See, e.g. , In re Cargill, 66 F.3d at 1261 ("The
relevant statute, 28 U.S.C. §455(e), plainly contemplates that a
party may waive an appearance-of-impropriety ground for
disqualification."); Salemme, 164 F. Supp. 2d at 93-94. Such
v^aivers permit a case to proceed without interruption or delay.

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III.   THE RELEVANT FACTS


       A fully informed, reasonable person would know the following

facts.


       A.     The Appointment of the Master

       After a hearing on November 2, 2016, I approved a $300,000,000

settlement      in    this     class     action         alleging    that    defendant       State

Street Bank overcharged its customers in connection with certain

foreign exchange transactions, I employed the "common fund" method

to determine the amount of attorneys' fees to award, meaning that

I "shape[d] the counsel fee based on what [I] determined [was] a

reasonable percentage of the fund recovered for [the class]."                                  In

re Thirteen Appeals Arising Out of San Juan Dupont Plaza Hotel

Fire Litig.,         56 F.3d 295,            305    (1st Cir. 1995).          I   found to be

reasonable a requested award to class counsel of $74,541,250 in

attorneys'          fees    and     $1,257,697.94           in     expenses.        That    award
represented about 25% of the common fund.

       Like    many        judges,      and        consistent      with     my    longstanding
practice, I tested the reasonableness of the requested award, in
part, by measuring it against what the nine law firms representing
plaintiffs            stated         was           their     total          "lodestar"          of
$41,323,895.75. See Nov.                2,     2016 Transcript            ("Tr.")    at 30-31,

34; see also Manual               for    Complex         Litigation        (Fourth)        §14.122

(2004)      ("the    lodestar is             ...   useful as a        cross-check on           the

percentage           method"       of        determining           reasonable        attorneys'

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fees); Vizcaino v. Microsoft Corp., 290 F.3d 1043, 1050 (9th Cir.

2002)("[T]he lodestar may provide a useful perspective on the

reasonableness of a given percentage award."). Plaintiffs' counsel

represented that the total requested award involved a multiplier
of 1.8 of their lodestar, which they argued was reasonable in view

of the risk they undertook in taking this case on a contingent

fee. See Memorandum of Law in Support of Lead Counsel's Motion for

an Award of Attorneys' Fees (Docket No. 103-1) at 24-25 (the "Fees

Award Memo").

      A lodestar is properly calculated by multiplying the number

of hours reasonably expended on the litigation by a reasonable

hourly rate. See Blum v. Stenson, 465 U.S. 886, 889, 891 (1984).
The Supreme Court has instructed that "[r]easonable fees . . . are
to be calculated according to the prevailing rates in the relevant

community." Id. at 895. "[T]he rate that private counsel actually
charges for her services, while not conclusive, is a reliable
indicum of market value." United States v. One Star Class Sloop

Sailboat, 546 F.3d 26, 40 (1st Cir. 2008)          (emphasis added). The
First Circuit cited a common fund case. In re Cont'l 111. Sec.

Litig. , 962 F.2d 566, 568 (7th Cir. 1992), for this proposition.
Id.


      In the memorandum in support of the fee request,             Labaton

represented that to calculate the lodestar counsel had used
"current    rather   than historical      billing rates,"   for   attorneys

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working" on this cas©. Fees Award Memo, at 24. Similarly/ in the
related affidavits filed on behalf of each law firm counsel stated

that "the hourly rates for the attorneys and professional support

staff in my firm ... are the same as my firm's regular rates

charged for their services...." For example/ Garett Bradley made
this statement under oath in his affidavit on behalf of Thornton.

See Docket No.         104-16   at   1l4.    Lawrence   Sucharow made     the   same

statement under oath in his affidavit on behalf of Labaton. See

Docket No. 104-15 at H?.             The affidavits on behalf of each law

firm/      including     Bradley's          for   Thornton/    stated    that     the

calculations were based on contemporaneous time records/                        which

were available to be reviewed by me. See Bradley Aff.                   (Docket No.

104-16) at 1|3. In view of the well-established jurisprudence and

the representations of counsel/ I understood that in calculating
the lodestar plaintiffs' law firms had used the rates they each
customarily actually charged paying clients for the services of
each     attorney/     and   were    representing       that    those   rates    were

comparable to the rates actually charged by other attorneys to
their clients for similar services in their community.

        On November 10/ 2016/ David J. Goldsmith of Labaton/ on behalf

of plaintiffs' counsel/ sent me a letter.                         Docket No. 116.
Goldsmith noted that I had used the lodestar calculated by counsel

as a check concerning the reasonableness of the percentage of the
common fund requested for attorneys' fees.                     at 3/ n.4. He stated
                                             21
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that as a result of an "inquiry from the media" "inadvertent errors

[had]    just been discovered in certain written submissions from

Labaton     Sucharow     LLP,    Thornton,      and   Lieff    Cabraser     Heiman   &

Bernstein LLP supporting Lead Counsel's motion for attorneys'

fees...." Id. at 1. Goldsmith reported that the hours of certain

staff attorneys, who were paid by the hour primarily to review

documents, had been included in the lodestar reports of more than

one firm. Id. at 1-2. More specifically,                the letter stated that

lawyers located at Labaton's and Lieff's offices were counted by

Thornton and should have been included only in Thornton's lodestar.

Id. at 2. Goldsmith also wrote that in some cases different billing

rates     had   been    attributed    to     particular       staff   attorneys      by

different firms.        Id.   at 3.

        This double-counting resulted in inflating the number of

hours worked by more than 9,300 and inflating the total lodestar
by more than $4,000,000. Id. at 2-3. As a result. Goldsmith stated
a multiplier of 2, rather than 1.8, should have been used to test
the reasonableness of the request for an award of $74,541,250 in

attorneys' fees. Id. at 3. He asserted that the award nevertheless
remained reasonable and should not be reduced. Id.

        The letter did not indicate that the reported lodestar was

not     based on       what   plaintiffs'       counsel,      or   others   in   their
community, actually customarily charged paying clients for the
type of work done by the staff attorneys in this case. Nor did the
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letter    raise    any     question   concerning          the    reliability            of    the

representations      concerning       the    number       of    hours     each attorney

reportedly worked on this case.

        Such questions, among others, were raised by a December 17,

2016 Boston Globe article headlined "Critics hit law firms' bills

after    class    action    lawsuits."      See    Docket       No.   117,     Ex.      B.    For

example, the article reported that the staff attorneys involved in

this case were typically paid $25-$40 an hour. In calculating the

lodestar, it was represented to the court that the regular hourly

billing rates for the staff attorneys were much higher—for example,

$425 for Thornton, see Docket No. 104-15 at 7-8 of 14, and $325-

440     for   Labaton, see Docket           No.     104-15       at     7-8        of   52.     A

representative of Labaton reportedly confirmed the accuracy of the
article in this respect. See Docket No. 117, Ex. B at 3.

        The Boston Globe also published a January 28, 2017 article

headlined "Firms profit from Garret Bradley's ties," which is
relevant to the Labaton's request for my recusal.                              The article

stated that the Plymouth County Treasurer Thomas J. O'Brien was:
              an unlikely magnet for campaign contributions
              from high powered attorneys in Manhattan and
              downtown Boston.  Yet,              since 2007, lawyers
              from the Thornton Law               Firm in Boston and
              Labaton      Sucharow    have       given        $100,000       to
              O'Brien's political campaigns, accounting for
              almost half of all of the contributions he's
              received over the decade.




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Andrea Estes, "Firms profited from Garrett Bradley's ties," Boston

Globe     (Jan.    28,    2017)The         article     further     reported    that,

"[flourteen       times    in    the   past     decade,    the   Plymouth     County

retirement system has filed [class action] lawsuits on the advice

of lawyers from Labaton and Thornton."                      Reportedly, "[c]ourt

records show that the retirement fund has collected a grand total

of     $40,035    from all      lawsuits   combined while        the     lawyers had

received 1,000 times that amount: $41.4 million." Id.

        The article also states that "in Massachusetts,                   no one is

better at persuading investors to join class action lawsuits than
O'Brien's friend,         [Garrett] Bradley, the managing partner of the

Thornton Law Firm and, until his sudden departure a few months

ago,      assistant       majority     leader     in      the    state     House    of
Representatives." Id. Thornton's lawyer explained that Bradley's
role was to "drum up business," for Thornton and Labaton.                          Id.
"O'Brien said his          county's decision to            join so many Labaton

lawsuits has nothing to do with political favors."                     Id. (emphasis
added).®




7 The Boston Globe article is not cited for the truth of the
statements in it.         It is quoted because the information it contains
is relevant to what a fully informed person would know, and to
whether the statements in the sidebar conference on May 30, 2018
on which Labaton primarily relies in seeking my recusal could cause
a knowledgeable, reasonable person to doubt my impartiality.
® The Master's Report at 125, n.lll, states that Chargois, the
attorney in Texas who received more than $4,000,000 of                             the
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      The    January       28,       2017    Boston       Globe    article     also    raised

questions     about    more          than    $30,000       in    campaign     contributions

Thornton     and   Labaton        made       to   Massachusetts       Treasurer       Timothy

Cahill.     Reportedly, several months after those contributions, the

state pension fund Cahill chaired hired Labaton.                             Andrea Estes,

"Firms profited from Garrett Bradley's ties," Boston Globe (Jan.

28,   2017). Labaton reportedly subsequently filed two successful

class action lawsuits             for the pension fund.                Id.    As a    result,

Labaton reportedly received $60,000,000,                          and shared $9,000,000

with Thornton, while the pension fund collected $681,763.                             Id. The

article also reported that after the Boston Globe began asking

questions about Bradley's work with the pension fund, "he took the

drastic     step   [of]     .    .    .     abruptly resign [ing]          from the state

Legislature . . . ." Id.^



attorneys' fees I awarded although he did no work on this case,
wrote in a    2014 email to Labaton that;

             Our deal with Labaton is straightforward.                        We
             got     you    ATRS          after    considerable        favors,
             political          activity,         money    spent     and     time
             dedicated in Arkansas and Labaton would use
             ATRS to seek lead counsel appointments in
             institutional fraud and misrepresentation
             cases. When Labaton is successful in getting
             a settlement or judgment award, we split
             Labaton's attorney fee award 80/20 period.

9 The Boston Globe subsequently published another article that
reiterated     and     amplified            its   report        concerning    Thornton    and
Labaton campaign contributions to Plymouth County Treasurer
O'Brien and Massachusetts Treasurer Cahill before being hired to
conduct class action litigation that was lucrative for the lawyers.
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        In addition, the January 28, 2017 Boston Globe article stated

that:


             Bradley and his Thornton colleagues are now
              facing a federal criminal investigation into
              their    firm's    massive    political    donations
             program.      The    US attorney    wants    to   know
              whether the law firm illegally reimbursed the
              firm's attorneys for          donations, including
              those to politicians          who oversee pension
              funds.


Id.


        In a February, 2017 Memorandum and Order, I wrote that the

December 17, 2016 Boston Globe article raised questions concerning

whether the hourly rates plaintiffs' counsel attributed to the

staff attorneys in calculating the lodestar were, as represented,

what these firms actually charged for their services or what other

lawyers in their community charge paying clients for similar
services. Docket No. 117. This concern was enhanced by the fact

that different firms represented that they customarily charged

clients for the same lawyer at different rates.                In general,   I

questioned whether paying clients customarily agreed to pay, and
actually paid, an hourly rate for staff attorneys that is about




See Andrea Estes,        "Former top Mass,      lawmaker often helped his
business, family," Boston Globe (May 30, 2017).      That article
stated that " [a] federal grand jury is now looking into millions
of dollars in reimbursements for campaign contributions, which may
violate laws that require political donations be made in the name
of the actual donors." Id.

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ten times more than the hourly cost, before overhead, to the law

firms representing plaintiffs.

       In   addition,    I     noted     that       the   article   raised    questions

concerning whether the hours reportedly worked by plaintiffs'

attorneys were actually worked. Id. Most prominently, the article

accurately stated that Michael Bradley, the brother of Thornton

Managing Partner Garrett Bradley, was represented to me to be a

staff attorney employed by Thornton who worked 406.40 hours on

this    case. See Docket           No.   104-15      at    7.   Garrett   Bradley     also

represented     that     the       regular     rate       Thornton charged for         his
brother's     services       was     $500     an    hour. Id. However      the   article

stated, without reported contradiction, that "Michael Bradley ...

normally works alone, often making $53 an hour as a court appointed
defender in [the] Quincy [Massachusetts] District Court." Docket

No. 117, Ex. B. These statements caused me to express concern about

whether Michael Bradley actually worked more than 400 hours on

this case and about whether Thornton actually regularly charged

paying clients $500 an hour for his services.
       I also stated that the acknowledged double-counting of hours

of staff attorneys and the matters discussed in the December 17,

2016    Boston Globe         article     raised broader questions             about    the

accuracy     and   reliability           of    the    representations        plaintiffs'
counsel made in their calculation of the lodestar generally. These

questions — which I said were only questions                              caused me to

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express concern about whether the award of almost $75,000,000 in

attorneys' fees was reasonable.           Therefore, I informed the parties

that I proposed to appoint Retired United States District Judge

Gerald Rosen as a Master to investigate and provide a Report and

Recommendation on all issues relating to the award of attorneys'

fees   in this case.


       On March 7, 2017, pursuant to the February 6, 2018 Order, I

held a hearing concerning my proposed appointment of Judge Rosen

as Master and related issues.             The hearing began with argument

concerning the motion filed by Ted Frank of the Competitive
Enterprise        Institute   to     participate      in   these       proceedings,
including as a guardian ad litem for the class with the authority
to serve as an adversary to the plaintiffs'                    law firms in any

proceedings before the proposed Master.               In successfully opposing
this request, counsel for Labaton, Joan Lukey, argued that Judge
Rosen could retain someone "to ask cross-examination questions in

an     adversarial    or   quasi-adversarial         model,"    and,     therefore,

neither the class nor the Master would need Frank's assistance.

Mar. 7, 2017 Tr. at 40.       Lukey added that Judge Rosen was "obviously

very skilled and has been in the role of a judge for many, many

years."     Id.     She expressed appreciation for "the opportunity to
present to a special master of his qualifications."                      Id. at 41.
Therefore,        Labaton had      "no   objection    to   Judge   Rosen"     being



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appointed as Master.         Id. at 41, 43.    Nor did anyone else object

to Judge Rosen's appointment.         Id.

       Labaton also agreed to my proposal that it return $2,000,000

to the District Court so that I        could review bills and authorize

payment of the reasonable cost of the Master and those he employed.

Id. at 44, 65.       I told the law firms that if more than $2,000,000

was needed,      I would give notice and provide an opportunity for

them to be heard concerning where the funds should come from.             Id.

at   65.


       Federal Rule of Civil Procedure 53(a)(3) provides,          in part,

that       in appointing a    master the court must      "protect against

unreasonable expenses or delay."            Therefore, on March 7, 2017, I

informed the parties that "I [would] monitor who is being employed

[by the Master] and what the proposed rates are."           Id.

       I also told the parties that I anticipated that it would be

necessary for me to have some ^             parte communications with the

Master.       Id. at 68.   I explained, however, that:

               I want to minimize any ^     parte communications
               with me because I ' l l need to decide objections
               to [the Master's] report and recommendation.
               So, I intend to limit ^ parte communications
               to what I call administrative matters at this
               point, fee requests or procedural matters, if
               there are any.

Federal Rule of Civil Procedure 53(b) (2) (B) requires that an order

appointing a master state "the circumstances, if any, in which the
master may communicate ^           parte with the court or a party."

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Therefore, my Order appointing the Master addressed this issue,
stating, in pertinent part, that:

          The Master may communicate ex parte with the
          court on administrative matters.                   The Master
          may also,     ^     parte,      request permission to
          communicate       with    the        court   ^      parte    on
          particular substantive matters.                  Requests for
          ex parte     communications           with   the    court    on
          substantive matters should be minimized.                    See
          Fed. R.   Civ.    P.   53(b)(2)(B).

Docket No. 173, 1(6.        As explained below, my ex parte communications

with the Master have involved only administrative matters.

     The March 7, 2017 hearing also included discussion of some of

the issues that prompted the appointment of the Master.                       Counsel
for Thornton,   Brian Kelly,        stated that my concerns about the

representations that had been made in the requests for attorneys'
fees were "justifiable."         Mar. 7, 2017 Tr. at 71.              He represented
that Michael Bradley had actually worked more than the number of
hours attributed to him in the fee petition,                    but did not have

conventional time sheets to document his time.                   Id. at 72.     Kelly

and Michael Bradley each also stated that Michael Bradley was not

an employee of Thornton, and that neither the firm nor Michael
Bradley had,    as represented under oath in Garrett Bradley's
affidavit in support of the fee petition, ever billed for his time
at the rate of $500 per hour.                    at 73-74. Although he claimed
that Thornton's regular rate for Michael Bradley was $500 an hour,
Garrett Bradley could not identify any case in which a client had

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been charged that rate, and identified only one Thornton case in

which his brother was billed at a rate of as much as $300 an hour.

Id.    at   88-90.


       As indicated earlier, Sucharow of Labaton had stated in his

sworn affidavit in support of the request for attorneys' fees that:

"[t]he hourly rates for attorneys and professionals in [Labaton],

included in Exhibit A [to my affidavit] are the same as my firm's

regular rates charged for their seirvices which have been accepted

in other complex class actions."             Sucharow Aff.    (Docket No. 104-

15), 1|7; Mar. 7, 2017 Tr. at 79.            At the March 7, 2017 hearing,

however,       Sucharow acknowledged that the rates characterized as

Labaton's        "regular rates    charged for     [the]     services"   of   the

attorneys who worked on this case had never been charged to paying
clients because his firm always worked on a contingency fee basis

and had no "billable clients."          Mar. 7, 2017 Tr. at 79.

        Similarly,     Garrett Bradley acknowledged that Thornton had

never billed a paying client $425 an hour for a staff attorney

and,        indeed,   the   staff attorneys he     had represented in his
affidavit worked for Thornton actually worked at, and were paid

by, Labaton and Lieff.          Id. at 88.

        Although I did not say so at the time, the statements of
Sucharow and Garrett Bradley heightened my concern about whether

false and misleading statements had been made under oath.



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       I did/ however, note at the March 1, 2017 hearing that the

propriety of the hourly rates attributed to "staff" and "contract"

attorneys for the purpose of calculating lodestars for use in class
actions had become the subject of litigation recently in several

cases in the Southern District of New York and mentioned several

of them.      Mar.   1,   2017 Tr.    at 94;       In re Weatherford Int'l Sec.

Litig./ 2015 WL 127847, at *1 (S.D.N.Y. 2015); In re Citigroup

Inc.   Sec.    Litig. ,    965   F.   Supp.    2d 369    (S.D.N.Y.   2013);   In re

Citigroup Inc. Bond Litig., 988 F. Supp. 2d 371 (S.D.N.Y. 2013);

In re Beacon Assocs. Litig., 2013 WL 2450960 (S.D.N.Y. 2013); City

of Pontiac Gen. Employees' Ret. Sys. v. Lockheed Martin Corp., 954

F. Supp. 2d 276 (S.D.N.Y. 2013) . In one case, which involved a
firm involved in the instant case, Keller,                  Rohrbach,    the court

wrote;


              There is little excuse in this day and age
              for delegating document review (particularly
              primary review or first pass review) to anyone
              other than extremely low-cost, low-overhead
              temporary     employees     (read,    contract
              attorneys) - and there is absolutely no excuse
              for paying those temporary, low-overhead
              employees $40 or $50 an hour and then marking
              up their pay ten times for billing purposes.

Beacon Assocs.,       2013 WL 2450960, at *18.

       The lodestars and requested fee awards were reduced in some

of the cases in the Southern District of New York. See, e.g., ^

re Weatherford Int' 1 Sec. Litig. , 2015 WL 127847, at *2; In re

Citigroup Inc. Sec. Litig., 965 F. Supp. 2d at 373-74.                    However,

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none of those cases resulted in the appointment of a              master to

investigate the veracity of           the    fee   applications and related

matters, including possible sanctions.             I am evidently the first

judge to have done that.

        B.     Communications After the Appointment of the Master

     As discussed at the March 7,            2017 hearing and authorized by

the March 8, 2017 Order appointing the Master, I had periodic ex

parte        communications   with    the    Master   about   administrative

matters.^® Some of these discussions concerned the bills of the

Master and those he had been authorized to employ.                They also

included discussion of additional individuals or organizations the

Master proposed to employ and the justification for doing so. These
discussions at times included identification of the issues that in

the Master's view justified the retention, but not the substance

or merits of those issues.           The existence of certain issues, but

not their merits,        were also discussed in connection with the

Master's several requests for extensions of the original October

10, 2017 deadline. Oct. 2, 2017 Order, Ex. A (Docket No. 207-1);
Dec. 14, 2017 Order, Ex. A (Docket No. 214-1); Mar. 1, 2018 Order,
Ex. A (Docket No. 216-1); Apr. 23, 2018 Order, Ex. A.




10 Some of the discussions with the Master included his counsel,
William Sinnott. References in this Memorandum to communications
with the Master include some communications with both the Master
and Sinnott.

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      More specifically# the court periodically discussed with the

Master issues concerning the bills for his fees and expenses.                           The

most significant such discussion was disclosed in a May 25, 2017

Memorandum and Order                in which    I   approved an         increase   in   the

Master's hourly rate from $800 to $900.                      See Docket No. 206.         In

that Order,       I   wrote:

              The court did not give plaintiffs'                       counsel
              prior notice of this issue and the Special
              Master's         request    because      doing      so     would
              involve disclosing his bills and,                   therefore,
              injure      the confidentiality of              the      Special
              Master's investigation,               which is the reason
              for the ^         parte submissions of those bills.
              However,         if     plaintiffs'          counsel      object
              promptly to the Special Master's rate being
              raised to $900 an hour or to the process by
              which the decision to do so has been made they
              may file a motion requesting that the court
              reconsider        its    approval       of    the    increased
              rate.


Id.   at   2-3.


       On October 24, 2017, I issued an order requiring Labaton to

return an additional $1,000,000 to the court for the cost of the

Master.      S^ Docket No. 208. On April 23, 2018, I ordered Labaton
to return another $800,000 more to fund the Master's foreseeable

future fees and expenses.                See Docket No. 217. For the reasons

explained in the May 25, 2017 Order raising the Master's hourly
rate, I did not give Labaton prior notice and an opportunity to be




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heard concerning the additional payments.I did, however, order

that "any request for reconsideration" of the October 24,                 2017

Order requiring the $1,000,000 payment "shall be filed by October

31, 2017." Docket No. 208 at 4, 1|3. No objection was then filed.

I did not include a similar provision in the April 23, 2018 Order.

However, it is evident Labaton understood that it could object as

it made the $800,000 payment under a           reservation of rights to

contest that payment, see Docket No. 222, and on June 19, 2018 it

did so.     See Docket No.   302.


       I also had discussions with the Master in which he identified

issues that had emerged that would impede his ability to file his

Report by the original October 10,            2017 deadline,     and later
extensions of the deadline.         Those discussions also involved the

Master's request for authorization to retain Professor Stephen

Gillers to advise him on the issues relating to Chargois.                   As

indicated earlier these discussions did not include the merits of

the issues that were identified.




11 I   now realize that Federal Rule of Civil Procedure 53(b)(4)
requires that the court give the parties notice and an opportunity
to be heard before amending an order appointing a Master.                  The
better practice would have been to devise a way            to give the law
firm prior notice of the additional payments I             was considering
ordering in some fashion that would have                   maintained the
confidentiality of the Master's investigation. I            do not believe,
however, that the fact that I did not give the             law firms prior
notice, when they knew they could seek reconsideration of my
orders, would cause, or contribute to causing, a reasonable person
to question my impartiality.
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     More specifically, in August 2017, the Master told me that

after depositions had been completed his team had found emails
regarding a lawyer in Texas that would require reopening some
depositions and additional discovery, which he expected the law

firms would oppose.    Therefore, the Master anticipated requesting

an extension of    the October 10,       2017    deadline   for   filing   his

Report.

     In September 2017, the Master told me that he did indeed need

such an extension and that the parties had agreed to it.                    To

justify his request, the Master explained that the Texas lawyer
had been paid 5.5% of the approximately $75,000,000 in attorneys'
fees I had awarded, and that the payment had not been disclosed

all of plaintiffs' lawyers or to me.            I told the Master I wanted
him to conduct a thorough investigation and to complete it as soon

as reasonably possible.      I agreed to extend the deadline for his
Report to December 15, 2017, and directed the Master to send me a
letter concerning his request.       He did so and I made the letter

part of the public record in granting the requested extension to
December 15, 2017.    See Docket Nos. 207 and 207-1.

     In October 2017, the Master informed me that he had entered

a Protective Order that, among other things, provided the parties
an opportunity to request that parts of his Report be sealed.                I
agreed to revise the Order appointing the Master to provide such
an opportunity and did so.      See Docket No 208.

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       The Master subsequently requested authorization to retain

Gillers, an expert in legal ethics, at the rate of $900 an hour,

although his retention would further delay the submission of the

Master's Report because of Gillers'              limited availability.      In

support of his request,          the Master explained that Labaton had
retained    two    experts,     including     Harvard Law School    professor

William Rubenstein,           ^ho opined that the payment to the Texas

lawyer was an ethically permissible "referral fee" which was not

required to be disclosed to the court.            Gillers, I was told, would
provide a contrary opinion that the Master believed was important
to present.       The reasons for the conflicting expert opinions were
not disclosed or discussed.          I authorized the retention of Gillers.

       The Master subsequently informed me that he had told the law

firms that he had retained Gillers.              He also said that he agreed

to   allow Labaton      to    take   Gillers'    deposition and    to   present

argument concerning Gillers' opinions to the Master.              He explained
that while this would take time, the issues were threatening to

Labaton and he wanted to consider its views fully before submitting

his Report. I directed the Master to send me a letter memorializing
his request.       He did so.     On December 14, 2017, I issued an order


12 I    have a vague memory that,             sometime after the Master was
appointed, I received an email or letter from Rubenstein inviting
me and, I believe, other judges to an event, possibly at his home.
I cannot find the email or letter and may be mistaken about whether
it came from Rubenstein. However, any such message did not mention
his involvement in this case.

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extending the deadline for the Master's Report to March 15, 2018,

and attached his letter to it.           See Docket No. 214, 214-1.

        In late February 2018, the Master told me that he had provided

Gillers'      report to the law firms,          which were shocked by his

opinions and wanted eight more weeks to respond to them.              However,

I expressed my reluctance to extend the deadline for the Masters

Report beyond March 15, 2018, which was six months later than the

original deadline. I noted that, under Federal Rule of Evidence

53(f)(1),      I    have the authority to take evidence concerning an

objection, and that was an alternative to law firms presenting
additional evidence and argument to the Master.               Nevertheless, I

agreed to the Master's request for an extension to April 23, 2018,
and directed him to submit a letter memorializing it.               He did so.

I issued an order granting the request, appending the Master's

letter to it.         See Docket Nos.   216,   216-1.

        I    subsequently   had   several      discussions   with   the   Master

concerning the mechanics of preparing his Report, and the record
of his activities, and submitting at least the Report in electronic

form.       This resulted in my issuing an Order extending the deadline

for filing the Report to May 14, 2018, and attaching the Master's
letter requesting the extension to it.             See Docket Nos. 217, 217-
1.


        I   also had limited discussions with the Master on another

subject.           In January 2018,     he informed me that he had been

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contacted by prosecutors          in     the   Office   of    the   United States

Attorney for the District of Massachusetts.                  The Master said that

the prosecutors were investigating Thornton, including whether a

possible illegal payment had been made to an official of a pension
fund.      They wanted to obtain information from the Master.                 The

Master said that he did not provide the prosecutors any infomation

beyond telling them that his Report was then due on March 15, 2018.

He said he had told the prosecutors that he would consult me about

their request.

        The   Master   and   I   noted    that   prosecutors'       investigation

suggested questions about whether any of the money paid to the
Chargois had been used to make political contributions or other
payments, and the potential for the criminal investigation to
expand to include Chargois.        I told the Master that I was reluctant
to authorize any informal cooperation with the prosecutors.                     I

directed the Master to tell them to send him a letter so I could

consider a specific request.

        The prosecutors sent the Master a letter requesting that they
be given immediately copies of                 the depositions and witness
statements he had, and that they be provided any other relevant

documents after his Report was filed.              The Master sent the letter

to me. I then instructed the Master to tell the prosecutors that

he was not authorized to provide them information or documents

voluntarily.       Rather, if they wanted any documents or information

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before his Report became public they would have to issue a grand

jury subpoena or file a motion to be decided by me.                  The prosecutors

have done neither.

     After it was publicly reported that the Master's Report had

been filed under seal, one of the prosecutors told a member of my

staff that she would like to speak with me.                   She did not identify

the matter she wanted to discuss.                  I instructed that member of my

staff to tell the prosecutor that if the requested discussion

related to this case, I would not speak to her. I have not heard

further from the prosecutor.

     In addition,          in August 2017,          I received an email from the

National    Association         of   Legal        Fees   Analysis    inviting   me   to

participate, with other judges, in a CLE webinar, "View from the
Bench;     Awarding        Attorneys'     Fees      in   Federal    Litigation."      I

responded, "[t]hank you for this invitation, which I am unable to
accept."

     C.      Events Following the Submission
             of the Master's Report

     On     May      14,     2018,      the    Master     filed     his   Report     and
Recommendation, an Executive Summary of it,                       and Exhibits.      See

Docket No.     224     (under seal).          I    allowed that submission to be

submitted temporarily under seal so the lawyers could propose

redactions and I could decide which, if any, were justified.                         See

Docket No.    220.




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     On May 16,     2018,   I   directed the   Master      to   provide   the

plaintiffs' law firms the sealed submissions and ordered that any

proposed redactions be submitted under seal by May 31, 2018.              See

Docket No. 223.   In my Memorandum and Order, I provided a framework

for proposing redactions which included, but was not limited to,

the following principles.       The public has a right documents and

information on which a judge relies in making judicial decisions.

Id. at 3 (quoting F.T.C. v. Standard Fin. Mgmt. Corp. , 830 F.2d

404, 408   (1st Cir. 1987)).      The public's right to inspect such

records is not absolute, but only the most compelling reasons can

justify non-disclosure of judicial records.          Id. I noted that "[a]
properly invoked attorney-client privilege may be sufficient to

overcome the presumption of public access.       Id. at 4 (citing Seidle
V. Putnam Inv., Inc., 147 F.3d 7, 9-10 (1st Cir. 1998))            (emphasis

added).    Although not explained in the Memorandum, the attorney-

client privilege belongs to the client, not the attorney, and,
therefore, the client must invoke it.          See Cavallaro v. United
States, 284 F.3d 236, 245 (1st Cir. 2002); United States v. Mass.

Inst. of Tech., 129 F.3d 681, 684 (1st Cir. 1997).

     On May 16, 2018, the Master informed me that State Street

should also be provided the sealed submissions and an opportunity
to propose redactions.          On May 17,   2018,     I   issued an order
authorizing both.    S^ Docket No. 225. The same day, Labaton filed
an objection to State Street receiving the unredacted Report and
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related documents.         See Docket No. 227.              I immediately vacated my

earlier Order, and directed the parties to discuss their interests

and recommend a means of accommodating them.                       See Docket No. 228.

       Labaton also raised issues concerning the scope of the record

to be filed by the Master. I directed the law firms to discuss

these issues with the Master.              See Docket Nos.          222,    226.

       On May 24, 2018, several of the law firms, including Labaton,

filed a motion requesting that the deadline for their proposed

redactions be extended to June 11,                   2018.     On May 25,          2018,   the

Friday before Memorial Day,                I    issued an Order extending the
deadline for proposed redactions to June 5, 2018, without prejudice
to a possible further extension to June 11, 2018.                          See Docket No.
223.    I scheduled a hearing on the motion for May 30, 2018.                              The

Order also stated, in part, that:

             George Hopkins, Executive Director of Arkansas
             Teacher Retirement System ("ATRS") , and anyone
             else required to act for ATRS in this case
             shall       attend    [the    hearing].         The    Master's
             Report      and   Recommendation          (Docket      No.     224
             under seal) , including pages 89 to 124 and 368
             to 371, and Executive Summary (Docket No. 224-
             1 under seal), including pages 25 to 29 and 50
             to 51, raise questions concerning: whether
             ATRS properly discharged its duties as Lead
             Plaintiff,        see,     e.g.,       Garbowski      v.     Tokai
             Pharma., Inc., 2018 WL 1370522                        (D. Mass.
             2018)(Wolf, D.J.); whether ATRS                       should be
             replaced as Lead Plaintiff; whether there is
             now     a    conflict      between       the    interests       of
              [Labaton, Lieff, and Thornton] and the class;
             and     whether      new     class      counsel       should    be
             appointed to provide independent advice to the
             class whether or not ATRS continues as Lead

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                Plaintiff.        Mr.      Hopkins          and     any        other
                representatives of ATRS shall be prepared to
                discuss these           issues    at    the       May    30,     2018
                hearing.

Id.   at    2-3.


       In Garbowski, I had recently described the duties of a lead

plaintiff in a Private Securities Litigation Reform Act case, which

I     understand        to   be   comparable           to    the        duties     of   a   class

representative in any federal class action.                         As required by Federal

Rule       of   Civil    Procedure        23(a)(3),         a     class        representative's

interests must be typical of those of the class. See Garbowski v.

Tokai Pharms. , Inc., 302 F. Supp. 3d 441 at *4                                (D. Mass. 2016).

In addition,          a class representative must fairly and adequately

protect the interests of the class. See Fed. R. Civ. P. 23(a)(4);
Garbowski, 302 F. Supp. 3d at *3.

        As the B.C. Circuit has explained:

                Basic consideration of fairness require that
                a court undertake a stringent and continuing
                examination of the adequacy of representation
                by the named class representatives at all
                stages of the litigation where absent members
                will be bound by the court's judgment. Two
                criteria for determining the adequacy of
                representation are generally recognized: 1)
                the     named     representative            must        not      have
                antagonistic or conflicting interests with
                the unnamed members of the class, and 2)                          the
                representative must appear able to vigorously
                prosecute the interests of the class through
                qualified counsel. Senter v. General Motors
                Corp., 532 F.2d 511, 524-25 (6th Cir. 1976).




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Nat. Ass'n of Regional Medical Programs, Inc. v. Mathews, 551 F.2d

340, 345 (D.C. Cir. 1976); see also 7A Wright & Miller, Fed. Prac.

& Proc. §§1765, 1768 (3d ed. 2018).

       Therefore,   as I wrote in Garbowski,      in assessing adequacy,

"the court must      []   consider whether the proposed lead plaintiff

'has the ability and incentive to represent the interests of the

class vigorously, [whether he] has obtained adequate counsel, and
[whether] there is a conflict between [lead plaintiff's] claims

and those asserted on behalf of the class.'"            Garbowski,     302 F.

Supp. 3d at *4 (quoting In re Cendant Corp. , 264 F.3d 201, 263
(3rd    Cir.   2001)).       Among   other   things,   an   adequate    class

"representative must be able to ensure that counsel do not
'litigate with a view toward ensuring payment for their services
without sufficient regard to whether their clients are receiving
adequate compensation in light of evidence of wrong doing."               id.
(quoting S. Rep. 104-98 (1995) at 6) (citing In re Cendant Corp.,
264 F.3d at 255).

       I was concerned about whether ATRS and Hopkins now satisfy

the typicality and adequacy requirements to continue to serve as
lead plaintiff.      The matters that prompted the appointment of the
Master raised serious questions about the veracity, and possibly
the legality, of statements made by Labaton and Thornton, among
others, in connection with the fee petition.            In his Report the
Master recommends that Labaton, Thornton, and Lieff be ordered to

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return   to   the    class   the   more   than     $4,000, 000      in   the   claimed

lodestar that resulted from double counting the hours of contract

attorneys.    The Master also recommends that those firms be directed

to return to the class approximately $2,300,000 because of what he

characterizes       as    improperly    inflated    rates     attributed       to    the

contract attorneys.           In addition,       the Master recommends              that

Labaton be ordered to disgorge the $4,100,000 paid Chargois, with

$3,400,000 going to the attorneys for the ERISA class and the

balance to the class.


      The court understands that Labaton, at least, will object to

the   Master's      recommendations.       The   court      will    be   open-minded

concerning the merits of those objections.                  However, there is now
a conflict between the interests of the class and the interests of

its Lead Counsel, Labaton.             This makes it particularly important

that any class representative have interests that do not conflict
with the interests of the other class members, and have the ability

and incentive to represent the class vigorously with regard to

whether Labaton and the other law firms should be required to

disgorge funds for the benefit of the class.



13 The Master also recommends that a sanction of between $400,000
and $1,000,000 be imposed on Thornton, that Garrett Bradley be
referred      to    the    Massachusetts       Board   of     Bar    Overseers       for
disciplinary action, and that Thornton be required to disgorge for
the benefit of the class about $188,000 because Michael Bradley
was included in Thornton's lodestar at an improperly inflated rate
of $500 an hour.
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     ATRS has employed Labaton since 2008.                      It has a contract to

continue to do so.       This relationship alone raises questions about

whether ATRS is typical and will vigorously represent the interests

of the class, uninfluenced by the competing interest of Labaton in

the Master's recommendation that Labaton, Lieff,                     and Thornton be

required to disgorge more than $10,000,000.

      These questions are magnified by the Master's recommendation

that the court find that Labaton, Thornton, and Lieff had a duty

to disclose to ATRS, the class, and the court the $4,100,000 paid

to Chargois in connection with this case.                     Hopkins has stated that

he   did   not    expect   to     be   told    of    this       payment    and had    no

responsibility to learn of it.            See Report at 257, n.7.               This may
or may not prove to be correct.                     However,       Hopkins' position
prompted the Master to write that;

            The class had a right to know that Lead
            Counsel intended to, and did, pay $4.1 million
            out    of   settlement       funds      to    a    person     who
            performed no work in this case, as a result
            of      Lead        Counsel's        own          pre-existing
            obligation, whether or not the payment itself
            was permitted under Massachusetts ethical
            rules. We cannot see how, in light of a clear
            dereliction of his fiduciary duties to the
            class,      Hopkins    can    fairly         and    adequately
            protect the class's interests moving forward.

Id.; see also May 30, 2018 Tr. at 17 (Mr. Sinnott stating, "there
was testimony by Mr. Hopkins that was very troubling . . . with
respect to what he saw as his role with respect to the class and
the members."). Therefore, it is foreseeable that the conduct of

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Hopkins on behalf of ATRS will be an issue in future proceedings

and that,   to some extent,        his    interests will be aligned with

Labaton's   interests,     which    now        conflict   with     the   financial

interests of the class.


     When, on May 25, 2018, I ordered Hopkins to participate in

the May 30,      2018 hearing,   I also anticipated that the Master's

Report   would    raise   questions      concerning       the    origins     of    the

relationship between Labaton and ATRS. As explained earlier, the

Boston   Globe    had   published     several      articles      suggesting       that

campaign contributions and use of Garrett Bradley's political
connections had generated class actions brought by pension funds

overseen by the Massachusetts            and Plymouth County Treasurers,

which resulted in more than $100,000,000 in fees for Labaton, and

many millions of dollars were reportedly given to Thornton.                       Those
articles mentioned this case and the Master's investigation.

     The Master's Report includes similar information with regard

to   Labaton's      relationship      with       Chargois       concerning        ATRS.

According to the Master, Labaton had agreed to pay Chargois 20% of
any fee it earned from representing ATRS as lead counsel in any
class action.     See Report at 125.          Labaton reportedly had a similar

agreement with Thornton.           See id. at 93 & n.76. As indicated
earlier, the Report includes a message Chargois reportedly wrote

to Labaton on October 18, 2014, stating:




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            Our deal with Labaton is straightforward.               We
            got you ATRS as a client after considerable
            favors/ political activity, money spent and
            time dedicated in Arkansas, and Labaton would
            use ATRS to seek lead counsel appointments in
            institutional            investor         fraud        and
            misrepresentation cases.   Where Labaton is
            successful in getting appointed lead counsel
            and obtains a      settlement or judgment award,
            we split Labaton's attorney fee award 80/20
            period.

Id. at 125, n.lll (emphasis added). The Special Master stated that

he "did not investigate further into the background facts alleged

by Chargois in this email as to how to Chargois/Labaton/ATRS
relationship was originated and developed" because, in his view,

"[t]his subject       [was] beyond the scope of the Special Master's

assignment from the Court."           Id.

        The truth of Chargois' statements may be disputed by Labaton.

I will open-mindedly decide any objection to them ^                  noyo.

        However, the substantial interest of the media in the origins

of Labaton and Thornton's relationship with pension fund clients,

and the Department of Justice investigation of Thornton caused me
to expect that when the Master's Report is unsealed, questions
will be     raised about       the origins of ATRS'           relationship with

Labaton.          Regardless    of   their merit,        such questions      would


14 A statement made at the May 30, 2018 hearing by Lukey indicates
that my prediction would, without the motion for recusal, have
proven to be correct. She said that after I "issued the [May 25,
2018]     order    requiring     Hopkins         presence,    it   generated,   as
unfortunately often occurs, some pretty extraordinary and
inflammatory online media reactions, including language such as
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contribute to making ATRS atypical of the class and possibly an

inadequate class representative.

    At       the May 30,         2018   hearing,    I   developed a process and

schedule for briefing proposed redactions in stages and granted

the earlier motion to extend to June 11,                     2018 the deadline for

submitting proposed redactions.                    See Docket No.      237.    I   also

scheduled       a   June   22,     2018   hearing       to   address   the    proposed

redactions that would be closed to the public. Id.

        I   concluded the May 30,           2018     hearing with questions          to

Hopkins. Having listened to the previous colloquy, Hopkins stated
that he was "totally aware" that there now "may be a conflict
between the interests of Labaton and the other lawyers, who want

to vindicate the propriety of everything they did and keep the
money, and the class that would benefit if [the Judge] ordered
some of that money paid back." May 30, 2018 Tr. at 69-70. He also
stated that as class representative, he was not then getting legal
advice from anyone other than Labaton. Id. at 67. He did not think
that he was receiving legal advice from Lukey. Id. at 66. In any

event, he stated that he understood that the client would have to



Hopkins must have done something explosive or there must have been
shenanigans." May 30, 2018 Tr. at 10.       Similarly, in one of
Labaton's memos in support of its proposed redactions it wrote
that "[t]he press has paid considerable attention to this case,
has scrutinized public filings, and has investigated information
disclosed in this public filings." See Docket No. 254-1 {under
seal)       (emphasis added).
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assert any attorney-client privilege, and that he would do so only

to protect some "viable interest" and not to cover-up for anyone.

Id.   at   68.


       With regard to ATRS role,      Hopkins testified that a class

representative "should be very cautious about trying to allocate

attorneys' fees between law firms and a class." Id. at 74. More

specifically, he did not believe that ATRS should take a position

on whether Labaton and other lawyers should be ordered to return

some of the fees awarded to the class.       Id. at 70.

       In addition, Hopkins said that he did not believe that as

class representative he had a responsibility to inquire about how

the attorneys divided a fee award, including whether any referral

fees were being paid. I^ at 71. He stated that it was the court's

duty to do so, and that I had subsequently ordered disclosure of
such information in another case in which ATRS is lead plaintiff,

ATRS V.     Insulet Corp., C.A. No. 15-12345. Id. at 73.

       In response to my question about why Hopkins wanted ATRS to

continue to serve as class representative, Hopkins asked for and


15 As explained earlier, in 2017, I had been informed of the payment
to Chargois by the Master in connection with his requests for more
time to complete his work and to retain Cillers. This educated me
to understand that there may be substantial fees shared with
lawyers in class actions that are not disclosed to the court in a
request for an award of attorneys' fees. Therefore, at the March
9, 2018 hearing for preliminary approval of the proposed settlement
in Insulet, I asked if there were attorneys who had not filed an
appearance that would share in the fee award. See C.A. No. 15-
12345, Docket No. 15 at 15.
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received opportunity to provide "a little history." May 30, 2018

Tr. at 50.      He said he became Executive Director of ATRS in 2009,

after serving in the State Senate.                   Id.   Labaton already had a

contract with ATRS.          Id. at 52.      When he took office, Hopkins did

not think that he should give priority to class action law suits.

Id. at 52, 53.        However, "political leaders" persuaded him to do

that.     Id.


        When asked who those political leaders were,                   Hopkins said

David Malone, a former Executive Director of ATRS with whom he had

served     in   the    Senate,    several       legislators,        members     of    the

Governor's      staff,     and officials       in   the    Department    of     Finance

Administration        of   Arkansas.   Id.     at   53-54.     In    response    to   my

question, Hopkins said he knew Paris, who the Master reports was

prompted by Chargois and his partner Herron to introduce ATRS to

Labaton, earning Chargois $4,100,000 in this case and, according

to Chargois, a right to 20% of Labaton's fees in all other ATRS'

cases in which Labaton represented ATRS.               Report at 91-94.         Hopkins

stated that: Paris was a State Senator when he became Executive

Director of ATRS; the Senate indirectly supervised ATRS; Hopkins

had discussed class action lawsuits,                 including the State Street

case, with Paris; but Paris was not one of the legislators who

convinced Hopkins to give high priority to class actions.                       May 30,

2018 Tr. at 53-56, 61.         Hopkins said that he had discussed Labaton,

and other firms,         with Paris.   Id. at 59.

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     However,     until   Hopkins    learned     it   from   the       Master's

investigation, he did not know that Paris had introduced Labaton

to ATRS.     Id. at 58, 61.   The Master's Report prompted Hopkins to

speak to Paris about his introduction of Labaton to ATRS and Paris
confirmed he had done so.             at 59-60.       However,   Paris never

mentioned Herron to Hopkins.        Id. at 60.

     In response to further questioning, Hopkins testified that he

spoke to Paris about his introducing Labaton to ATRS right after

Hopkins'   deposition in the Master's proceedings.               Id.    at 61.

Hopkins also said that, after I had on May 25, 2018 ordered him to
appear at the May 30, 2018 hearing, Hopkins met in his office with
Paris at 9:00 a.m. on Memorial Day, May 28, 2018 and they discussed

the hearing.     Id. at 62-63.

     I concluded my colloquy with Hopkins by raising questions to

be considered by ATRS and, if necessary, further by me concerning
whether ATRS should be allowed to continue as class representative.

They included questions about whether it would injure ATRS'
reputation,     and possibly its opportunities to serve as                 lead
plaintiff in other cases, if I found Labaton engaged in misconduct.
Id. at 73.     Hopkins said he had not considered these issues.             Id.
     I subsequently summarized my concerns about whether ATRS
should continue as class representative and told Hopkins I would

give him an opportunity to consider whether it wished to do so.
Id. at 78.      I noted that: ATRS selected Labaton and other lawyers

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whose conduct had been called into question; the Master recommended

that I order those lawyers to return to the class a significant

amount of money; ATRS had a continuing relationship with those

lawyers and is still getting advice from them; and ATRS has not

consulted any lawyer who does not have a stake in these proceedings

about   what    would        be    in    the   best   interest    of    the       class   ATRS

represents.       I also said:

            I don't want to get into more detail about
            this, but you know that questions have been
            raised by the Report and Recommendation about
            the origins of Labaton's relationship with
            Arkansas Teacher, and they're just questions.
            But    to        the   extent      that   those    issues     are
            litigated in this case, they could be at least
            embarrassing to Arkansas Teacher.

            And that may give you an incentive, even if
            you're confident that you would resist it, to
            not vigorously represent the class the way
            somebody who did not have this historic
            relationship in these issues would.

Id. at 79. I concluded by saying:

               [M]y paramount responsibility is to the class
            and to make sure - try to assure that at this
            point it's represented by a lead plaintiff
            who's typical and adequate, and will not have
            its     or       his        role   representing      the    class
            complicated by unique issues and potential
            conflicts of interest. That's my concern.                         I
            would like you to think about that.

Id.     Therefore,       I    ordered Hopkins to report,               by June 6,         2018,

whether ATRS wished to continue to get advice from Labaton or from

other counsel.       Id. at 81; Docket No.              237.




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       Lukey then requested the sidebar conference, which is the

primary basis for the motion for my recusal.                    At the sidebar I

explained the reasons for some of my questioning of Hopkins.                        I

noted that according to the Master's Report:                    Labaton had asked

Chargois to introduce it to institutional investors in Arkansas;

Chargois did not know any institutional investors; Chargois did,

however,    ask his partner in Arkansas,             Herron,    who also did not

know any institutional investors; Herron knew State Senator Paris;

Paris    introduced Labaton to ATRS;           ever since Chargois has been

entitled to 20% of Labaton's fees in ATRS cases despite not doing

any work on them; and, there was an assiduous effort to keep that

from counsel in this case and others.            May 30, 2018 Sidebar Tr. at

1.16


        The following colloquy ensued:

             THE COURT: And I        think that - and they may not
             be questions to be resolved in this case, but
             I think i t is foreseeable that when the Report
             becomes       public,     there   are    going      to     be
             questions        about     the     origin     of         this

16 As explained in my June 11, 2018 Order (Docket No. 240), the
side bar conference was originally sealed because the colloquy did
not relate to any pending motion to be decided by me.         That
discussion became central to Labaton's sealed motion for recusal,
which relates to respect for the legal system.                        Therefore,   the
presumption of a public right to court records on which judicial
decisions are based became relevant. See Standard Pin. Mgmt. Co.,
830 P.2d at 408-09. Accordingly, I provided Labaton an opportunity
to advocate for continued impoundment of the sidebar conference
and the references to it in Labaton's submissions concerning
recusal. See Docket No. 280, Hi. Labaton instead stated that it
did not object to unsealing the transcript and submissions.                        See
Docket No.    292.     I   did so.    See Docket No.     300.

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            relationship and whether all those millions of
            dollars stopped with Mr. Chargois.

            Mr. Kelly was a prosecutor, and Arkansas these
            days is -- ears may perk up.

            But that was part of the motive [for some of
            my questions].

             I   don't know what Mr. Sinnott would say.

             I do not object to you saying what you want to
             say, and future proceedings will be what
             they'll be, but --

             MS.    LUKEY:   Your   honor,   are   you   suggesting
             there was impropriety involving Senator Paris
             with the monies being paid? Because there is
             nothing.  I mean nothing.

             THE COURT: I'm suggesting that those questions
                yes those questions occurred to me when I
             read i t .


             I don't know that they will be resolved here,
             but I am concerned that when the relationship
             between Arkansas Teacher and Labaton is
             disclosed, and Arkansas Teacher's is going to
             be defending itself,        and its    interests are
             different than the interest of the class.

Id. at 2.        Lukey then said that she was "in shock" and "appalled"

that I seemed to be suggesting "public corruption," and asserted

that the Master in his Report "made no such suggestion."              Id. at

4-6.    Lukey then asked me if I had "formed the opinion that "some
form of public corruption occurred," id. at 7, or "that money was

going back to Senator Paris or somebody else," id. at 8.                   I
responded:




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                No.


                But   I' ve    f omned the opinion that           those     are
                questions that are raised, and they may well
                not be questions that would be resolved or
                could be       resolved    in   this   case.      But   I   can
                foresee       the   reasonable       likelihood    that     the
                conduct of Arkansas Teacher is going to become
                part of the controversy, and it causes me to
                have   questions  about    whether it's   an
                appropriate lead plaintiff.

                Who is representing - remember what this is
                about.    Who is representing the class?

Id.   at   8.


      After       further       colloquy    relating      to    whether      ATRS    should

continue as class representative, Lukey asked for an opportunity

to say publicly that the alleged "misconduct" at issue in the
Sealed Report and Recommendation related to whether Labaton had
paid Chargois a permissible "referral or origination fee."                           Id. at
13.     I authorized Lukey to make her public statement and said I

would      permit      Sinnott       to   respond       that    the     payment     was   an

impermissible "finder's fee."                   Id. at 13-14.

        They each did so.             S^ May 30, 2018 Tr. at 82-84.                  I then
stated, "I don't have answers to any of these questions now, but
I did put to Mr. Hopkins questions that I think are important in
the discharge of my duty to try to ensure that the class is properly
represented and to try to get these issues resolved sooner rather
than later --so the Court can get the benefit of the views of the

class."         Id. at 84.      This was followed by a brief lobby conference.


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       On June 6, 2018, Hopkins filed an affidavit stating that he

had obtained advice from independent counsel, Thomas Hoopes, and

that ATRS wished to continue as class representative,             receiving

continuing advice from Mr. Hoopes.         See Docket No. 258.       On June

8, 2018, Labaton filed its motion seeking my recusal under §455 (a) .

IV.    ANALYSIS


       As explained earlier,      Labaton does not contend that I am

actually biased or prejudiced, or that I actually have personal

knowledge of disputed evidentiary facts, any of which would require

my recusal under §455(b)(l).          Rather, Labaton suggests that a
reasonable person would doubt that I am not biased or prejudiced,

or do not have personal knowledge of disputed evidentiary facts.

Therefore, it argues that my recusal is required by §455(a).              This
issue must be decided from the perspective of a fully informed

member of the public, rather than the perspective of a litigant or
the judge.       S^ Voccola, 99 F.3d at 14; El Felix de Puerto Rico,
36 F.3d at 141; In re United States, 660 F.2d at 695.

       As noted earlier, I am required to "undertake a stringent and

continuing examination of the adequacy of representation by the
named class representatives at all stages of the litigation                   "
Nat.    Ass'n,    551 F.2d at 334. As the B.C.        Circuit's statement

indicates,        an   organization    that    is    an   adequate        class
representative at the outset of a case may be an inadequate
representative as the case evolves. See also 7A Wright & Miller,
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§1765 ("If later events demonstrate that representatives are not

adequately protecting the absentee[]              [class members], the court

may take whatever steps it deems necessary under Rule 23(c) or
23(d) at that time,"). Therefore, following the submission of the

Master's Report I had a duty to consider whether ATRS now has

"antagonistic or conflicting interests with unnamed members of the

class"    and   whether   ATRS   still        "appear[s]   able   to   vigorously

prosecute the interests of the class through qualified counsel."

Nat. Ass'n,     551 F.2d at 345.

     As also explained earlier, Labaton relies primarily on the

colloquy at the then non-public May 30, 2018 sidebar conference in
seeking my recusal.       In open court I had asked Hopkins a series of
questions relating to the issues identified in my May 25, 2018
Order, to obtain information relevant to whether ATRS continued to

be a typical and adequate representative of the class. Without
being asked, Hopkins stated that "political leaders" in Arkansas
persuaded him to give high priority to bringing class action law
suits. In view of its contract with ATRS, Labaton was positioned

to become Lead Counsel in at least some of such suits and, as a

result,    receive millions of dollars.               When asked about those
political leaders, Hopkins identified one by name and others by
office.    As explained earlier, he did not mention then former State
Senator Paris. Paris is the sole legislator named in the Master's

Report. He was identified in the Report as the person that
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Chargois' partner Herron had influenced to introduce Labaton to

ATRS.     That introduction, according to the Master, resulted in an

agreement that Chargois would receive 20% of all fees awarded to

Labaton for serving as Lead Counsel in ATRS cases,                 including a

payment of $4,100,000 relating to this case.                   In response to

further questions, Hopkins testified that he had over the years

discussed      with   Paris   class   actions,      Labaton,   and   questions

relating to Labaton's conduct that had emerged in this case.

Hopkins also revealed that after being ordered on May 25, 2018 to

be prepared to testify at the May 30, 2018 hearing, he had met in
his office with Paris on May 28,            2018    -- Memorial Day -- and

discussed the hearing.

        As I repeatedly explained in open court, my questions to

Hopkins were intended to develop information concerning his
understanding of ATRS' duties as a class representative in the
present posture of this case, how ATRS would discharge its duties
if allowed to continue as class representative, and whether ATRS

is now a typical and adequate representative of the class.                  The
Boston Globe had publicly reported on its investigation of campaign
contributions made by Thornton and Labaton, and on the alleged

exploitation of Garrett Bradley's position in the Massachusetts
House of Representatives to get Labaton and Thornton business that
generated many millions of dollars                 in attorneys'     fees   from
Massachusetts pension funds.          The Boston Globe has also reported

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that federal prosecutors were investigating Thornton's campaign

contributions.     In addition,     I    had learned from that Master that

federal prosecutors in Massachusetts were investigating whether

Thornton had made an illegal payment to a pension fund official.^"'

Therefore,      I foresaw that it was likely that, when the Master's

Report became public, questions would be raised by the media, at
least, about the origins of ATRS' relationship with Labaton.                 Any

such questions would contribute to ATRS being unique, rather than

typical of the class, and possibly an inadequate representative of
the class in the current proceedings.

       I   explained     and   amplified        this    concern   at   the   then
confidential sidebar conference Lukey requested.                  Having in mind

the    Boston    Globe   articles       and    the   United   States   Attorney's

investigation, I said it was foreseeable that when the Master's

Report became public there would be questions about the origins of
Labaton's relationship with ATRS, and whether all of the millions

of dollars paid to Chargois had stopped with him.                        I again
explained that these issues related to whether ATRS remained a
typical and adequate class representative.               In response to Lukey's
questions, I stated I had not formed an opinion on whether money



"     I knew that an official act by a public official as a quid pro
quo — meaning in explicit exchange for — for an otherwise
legitimate campaign contribution is a form of extortion in
violation of 18 U.S.C. §1951.            See McCormick v. United States,
500 U.S. 257, 275        (1991); 18 U.S.C. §1951.
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was going back to Paris or anyone else, or on whether public
corruption had occurred.     I added again that I foresaw that such

questions would be raised when the information in the Master's

Report was unsealed.     I   stated that while     they might not be
questions that could be resolved in this case, such questions would

make ATRS part of the controversy and,         therefore, possibly no

longer an appropriate class representative.

     My infoirmation concerning the roles of Herron and Paris in
the genesis of Labaton's relationship with ATRS came exclusively
from the Master's Report.     In the process of deciding whether to

extend the deadline for the submission of the Master's Report and

whether to authorize him to employ Gillers, I did learn that more

than $4,000,000 had been paid to Chargois.             This matter is,
however, far more fully described in the Master's Report.

     As explained earlier, in almost all cases a meritorious motion
for recusal under §455(a) must be based on a judge's acquisition

of information extra-judicially. See Liteky, 510 U.S. at 551. A

disqualifying appearance of bias or prejudice can be based on
information the judges acquires in the litigation, but only if "it
is so extreme as     to display clear inability to render fair
judgment." See id.     Therefore, if the motion does not assert a
judge has   information from an extrajudicial source,            a "high
threshold" must be met to justify recusal.        Id. at 558 (Kennedy,

J., concurring). More specifically, "under §455(a), a judge should

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be disqualified only if it appears that he or she harbors an

aversion, hostility, or disposition of a kind that a fair minded

person could not put aside when judging the dispute."           Id.; see

also Snyder, 235 F.3d at 48 (quoting Liteky, 510 U.S. at 557-58);

In re United States, 158 F.3d at 34 (same).        A reasonable person

could not believe that my statements at the May 30, 2018 hearing,

in open court or at the sidebar, meet this standard.

     The conclusion that a reasonable person could not question my

impartiality is not qualified by Labaton's suggestion that such a

person could believe that I had improper, ^       parte communications

with the Master.       Labaton cites no case in which a judge's recusal

has been required based on his interactions with a Master.       Indeed,

there does not appear to be any such reported case.

     In re Brooks, 383 F.3d 1036 (D.C. Cir. 2004) is, however, an

illuminating decision.        As indicated earlier, pursuant to Federal

Rule of Civil Procedure 53(a)(3),         "in appointing a master,     the

court . . . must protect against unreasonable expense or delay."

Fed. R.   Civ.   P.   53(a)(3).

     In In re Brooks,        the D.C. Circuit found that the district

judge's recusal was not required under §§455(a) or (b)(1) because
of his ^ parte communications with a Master. The court noted that
those provisions require a judge's recusal when he has "personal
knowledge of disputed evidentiary facts" or when his "impartiality
might reasonably be questioned." 383 F.3d at 1041. The movant

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submitted time records             "that reveal[ed]    seven private meetings

[between the Master, and] the Court for a total of approximately

eight hours." Id. It alleged that the Master had impermissibly
informed the court of the content of meetings the Master had with

certain   individuals         involved    in   his    investigation   concerning

federal officials'        handling of monies held in trust for Native

Americans.


     However,


     [t]he district court stated: " [i]t is not only appropriate
     but necessary for the Court, as principal, to consult with
     its agents regarding the manner in which they are carrying
     out their assigned duties .... [T] hroughout these regular
     consultations,       the Court discussed with the Master the
     general nature of the ongoing tasks that the Master was
     involved with,           in order to ensure that       the Master was
     responsibly carrying out the duties                  to which he was
     assigned."   .   .   .

     "In the course of a typical meeting,                 for example,   the
     [Master] might inform the Court that he planned to travel
     to New Mexico to meet with the Office of the Special
     Trustee, and receive a briefing about their role in the
     historical accounting process. Or he might explain that
     he traveled to Billings, Montana to meet with title
     records office personnel,    examine their hard copy
     records,   and review the pilot      [Trust Asset and
     Accounting Management System]. Or he might inform the
     Court that he had been briefed by the Deputy Commissioner
     of the Bureau of Indian Affairs about the organization of
     their office."       .    .   .


     "[T]he only reason that the Court knew anything about the
     ... meeting [in question], or the background relating to
     that meeting, is that the [Master] was compelled to
     'present[] the facts surrounding the request of the Deputy
     Secretary' to hold the meeting, in order that the Court
     could make an informed decision about whether to authorize
     the [Master's] attendance at the meeting."


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Id, at 1041-42     (citations omitted),

      The D.C.     Circuit wrote that         "the district court reasonably

explained that in referring to the "nature, extent, and substance

of   [the   Master]     meetings"     with    third   parties,   the   court   was

concerned with the subject matter, not the actual content, of those

meetings." Id. at 1043. It stated that:

      [Mjoreover, it is not surprising that the district judge
      met many times with the Special Master and . . .; he had
      to oversee and to coordinate             [the Master's]    efforts on
      the court's behalf during four years of complicated and
      contentious litigation. Keeping a careful inventory of
      the   tasks  they   had  performed  appears  sensible,
      particularly in the light of the defendants' several
      challenges to [the Master's] requests for compensation.

Id. at 1043. The D.C. Circuit stressed that "the district judge

has described the nature of the ^                parte contacts, and stated

unequivocally that those contacts were of a procedural and not a
substantive nature." I^ at 1044. It concluded, therefore, that
the judge's contacts with the Master had not given him "personal
knowledge of disputed evidentiary facts" and that his impartiality
could not reasonably be questioned. Id. at 1043.

      The instant matter is, at most, analogous to In re Brooks.

At the March 7, 2017 hearing, I informed the parties that I had a

duty to protect against unreasonable expense or delay and,
therefore, anticipated having ^               parte communications with the
Master.     See Mar.     7,   2017 Tr. at 68.         However,   I expressed my

intention     to      limit   those    communications      to    "administrative


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matters."    Id. The March 8, 2017 Order reiterated this.                    See Docket

No. 173, He ("The Master may communicate with the court ^                            parte

on administrative matters.").

      My    communications         with     the     Master      were       limited      to
administrative matters.           I was initially told about the payment of

the   $4,100,000        to   Chargois,      and    the    Master's         request     for

authorization to retain Cillers to advise on issues relating to

Chargois, in connection with the Master's request for an extension
of time in which to file his Report.              I was told about the existence

of a dispute between Cillers and experts Labaton had retained in
connection with the Master's requests                    for   further extensions.

Labaton has       not   asked     that    the    references     to   the    payment     to

Chargois concerning this case, or that he is entitled to up to 2Qs
of    Labaton's     fee      in   each     case    for    which      ATRS     is     class

representative and Labaton is Lead Counsel, be redacted from the
public version of the Master's Report.                     I do not expect that
Labaton will object to the accuracy of the claim the payment to
Chargois concerning this case occurred.                        Labaton has stated,
however,    that it objects to Gillers'                  opinions concerning the
ethical propriety of the payment.                  I did not discuss with the
Master the substance or merits of Gillers' opinions or the law

firms' experts' competing views.

       In not moving for my recusal under                      §455(b)(1),         Labaton
implicitly acknowledges that the information I received ^                            parte
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from the Master does not actually give me "personal knowledge of

disputed evidentiary facts concerning the [current] proceeding."
§455(b)(1).     In any event,      ^      parte       communications    implicate
§455(b)(1) only "when a judge receives information that does not

enter the record [and] the reliability of that information may not

be tested through the adversary process."               Craven, 239 F.Sd at 103

(citing Edgar v. K.L., 93 F.3d 256, 262 (7th Cir. 1996)). This is
not such a case.     The limited information I received about Chargois

is included and amplified in the Master's Report. Labaton's view
of the propriety of that payment will be presented fully with its
objections, which I can and will decide with an open mind, ^ novo.
In these circumstances, a knowledgeable, reasonable person could

not believe that I received ^          parte relevant information that is
not,   or will not be,         in the record and,          therefore,   doubt my
impartiality because of my communications with the Master.
       Contrairy to Labaton's contention, this case is not analogous
to Edgar, 93 F.3d at 259-60.           In Edgar, the Seventh Circuit found
that recusal was rec[uired under §455 (b)(1), and §455 (a) as well,
because the judge had, and reasonably appeared to have, "personal
knowledge of disputed evidentiary facts," §455(b)(1), when he had
ex parte discussions with court-appointed experts about the merits
of their opinions and prohibited any attempt to reconstruct those
conversations      for   the   record.         Id.     In contrast,     I   had no

communications      with   Gillers       or,     as    explained   earlier,    any

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discussion with the Master concerning the substance or merits of

Gillers' opinions.^®      Compare In re Faulkner^ 856 F.2d 716, 720-21

(5th Cir. 1988)     (recusal required under §§455(b)(1) and (a) where

judge's relative was a major participant in transaction at issue

and    "communicated to the       judge        .   .    .    material       facts   and her

opinions and attitudes concerning those facts").

       As explained earlier, it has been held that reasonable people

presume that "a judge . . . will rule according to the laws, as

enacted, as required by his or her oath."                     In re Aquinda, 241 F.3d

at 204; see also First Interstate Bank of Arizona, 210 F.3d at

988.    In In re Brooks, 383 F.3d at 1043, the D.C. Circuit found

that for the purposes of §455(b)(1), and §455(a) as well, there is
"no     reason     for    not   accepting              the      judge's       unequivocal"

representation that he did not receive substantive infoarmation in
his ex parte discussions with a Master. Similarly, in this case a
reasonabie person would not doubt my explanation that there were

proper administrative reasons for my ex parte communications with
the Master and that I did not receive from him any extra-judicial

information concerning disputed evidentiary facts.

       Nor would my communications with the Master concerning the
federal prosecutors' request for information cause a reasonable


   Although not comparable to the facts in the instant case, the
First    Circuit    has   noted   that         even         " [e] ngaging    in     ex   parte
communications with court-appointed experts need not inevitably
require a judge's disqualification."                   Craven, 239 F.3d at 103.
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person to question my impartiality.         The fact that the United
States Attorneys' office was investigating whether Thornton had

made illegal campaign contributions had been previously reported

by the Boston Globe.      The Master consulted me in order to get

instructions on how to respond to the prosecutors' request.             He

told me that the prosecutors said they were investigating Thornton,

including whether a possible illegal payment had been made to an

official of a pension fund.       This information was comparable to

the information that had been published by the Boston Globe.              I

instructed the Master not to provide infoimiation to the prosecutors

voluntarily.

     The    information   I   received   from   the   Master   about    the

prosecutors' request for information did not give me personal
knowledge     of any evidentiary fact      that is disputed in this
proceeding.     No reasonable person could believe that it did.         Nor
could a reasonable person believe that my knowledge that federal

prosecutors were investigating Thornton would cause me to violate
my oath to be impartial.

     Labaton also suggests that a reasonable person could question

my impartiality in deciding challenges it is making concerning the
cost of the Master and the manner in which he performed because I

appointed the Master and monitored his activities.        Again, Labaton
cites no analogous case in support of this contention.



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     In any event, this argument is unmeritorious.           I did appoint

the Master, monitor his fees and expenses, and received limited

infoannation about his activities in the process of deciding whether

to authorize him to retain Cillers, among others, and to extend

deadlines. A reasonable person would understand that I did this to

discharge my duty to protect against unreasonable expense and
delay.     See Fed. R. Civ. P. 53(a)(3).

     In the Order appointing the Master I stated that "[t]he court

intends to disclose the cost of the Master at the conclusion of

these proceedings."      See Docket No. 173, ^14. On June 19, 2018,
Labaton, Lieff, and Thornton filed under seal a Motion for an

Accounting and for Clarification that the Master's Role Has
Concluded. See Docket No. 302. After this Motion is briefed, I

will decide with an open mind whether the Master's involvement in
these proceedings should be terminated and, in any event, whether
the request for an immediate accounting should be granted.
     Federal     Rule   of   Civil   Procedure   53   is   premised on   the

principle that the judge who appointed the Master can and will
decide objections to his performance or his recommendations de
novo. A knowledgeable reasonable person would not doubt my ability
to do that in this case.

         In view of the foregoing, my recusal under §455 (a)        is not
justified. Rather, recusal in the circumstances of this case would
injure an important interest to be served by §455 (a) . As the First
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Circuit has     explained:     " [t]his    statute    seeks    to balance          two

competing policy considerations: first, that courts not only be,
but seem to be, free of bias or prejudice, and second, the fear

that recusal on demand would provide litigants with a veto against

unwanted judges." In re Boston's Children First, 244 F.3d at 164
(internal citations and quotations omitted). Therefore, as the

First Circuit has also stated,            the recusal decision must,          among

other things, reflect "the need to prevent parties from too easily
obtaining the disqualification of a judge, thereby potentially
manipulating the system for strategic reasons, perhaps to obtain
a judge more to their liking."            In re Allied-Signal, 851 F.2d at
967.


       In this case,     a    reasonable person would know that                I    am

evidently the first judge to have appointed a Master to investigate
the reliability of representations made by lawyers in seeking an
award of attorneys'          fees in a class action.            The Master has
recommended     that   Labaton    and     some   of   the     other   firms        that

represented the class be ordered to disgorge more than $10,000,000.
The Master recommends that I sanction Garrett Bradley personally,
refer him for possible discipline by the Massachusetts Board of
Bar Overseers,       and require     additional       disgorgement of         up     to
$1,000,000 received by Thornton.           The Master also recommended that
I find that Sucharow, acting for Labaton, violated its legal and
ethical obligations. In seeking my recusal, Labaton wrote that my
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decisions on the Master's recommendations could result in "serious

and far reaching adverse ramifications for at least some of the

law firms, and even beyond this investigation for the practice of

the Plaintiffs' class action bar .       .   .       Docket No. 216-1 at 2.

My disqualification would require the reassignment of this case to

a judge who is not familiar with its long and complex history.

     In these circumstances, my unjustified recusal under §455(a)

could encourage the perception that litigants can manipulate the

system to veto an unwanted judge.                As the First Circuit has
repeatedly reiterated, this would be damaging to public confidence
in the administration of justice. See In re Allied-Signal,               891

F.2d at 967;   In re Bulger, 710 F.3d at 47; In re Boston's Children

First, 244 F.3d at 164; In re United States, 441 F.3d at 67; Cigna

Fire Underwriters Co.,    86 F.3d at 1270.

     I   am also mindful of the First Circuit's admonition that

§455(a) "should not be used by judges to avoid sitting on difficult

cases." Snyder,    235 F.3d at 45.       It is evident that this will

continue to be a demanding case. As careful consideration has

persuaded me that my disqualification is not justified, recusal
would be   an abdication of professional             responsibility,    which

judges have been urged to avoid.




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V.   ORDER


       Therefore,   in view of    the   foregoing,   on June   21,   2018,   I

denied Labaton's motion for my recusal pursuant to §455(a). See

Docket No.   315.




                                             UNITED STATES DISTRICT JUDGE




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